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                       IN TH E UN ITED STATES DISTRICT CO UR T                      FE2 25 2222
                      FO R TH E W ESTER N DISTRICT O F W R G IN IA                '*
                                  A BIN GD ON DIVISION                            w    C
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    cxll'Eo su awsOFAMERI/A            )
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                                       ) CaseNo.1:19-CR-00016
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                                       )
    INDW IOR INC.(a/k/aReckitt         )
      BenckiserPharmaceuticalsInc.)and )
    IND IW O R PLC                     )


         Upon m otion ofthe United States,based on the record herein and forgood cause show n,it

   ishereby ORDERED thatthe United States'Reply in Supportofthe United States'Application

   fora Protective Order and the AffidavitofSpecialAgentDarren Petriare SEALED untilany

   furtherOrderofthe Court.


   ENTERED:thiV dayofY -,2020.

                                              By:
                                                     nited StatesM agistrateJudge
